                     Case: 23-10326 Document: 8 Page: 1 Date Filed: 04/06/2023
                  NOTICE OF FORM FOR APPEARANCE (See Fifth Cir. Rule 12)
Only attorneys admitted to the Bar of this Court may practice before the Court. Each attorney representing a
party must complete a separate form. (COMPLETE ENTIRE FORM).
                              Fifth Cir. Case NO.          23-10326

Braidwood Management, et al.                                                vs.   Xavier Becerra, et al.
(Short Title)
The Clerk will enter my appearance as Counsel for                  Plaintiffs/Appellees (and cross-appellants) Braidwood

 Management Inc., Kelley Orthodontics, John Kelley, Joel Starnes, Zach Maxwell, Ashley Maxwell.
 Also Plaintiffs/Cross-Appellants Gregory Scheideman and Joel Miller
______________________________________________________________________________________________________________
(Please list names of all parties represented, attach additional pages if necessary.)
The party(s) I represent IN THIS COURT                   Petitioner(s)           Respondent(s) Amicus Curiae

                                         Appellant(s)             ✔ Appellee(s)                                 Intervenor

    ✔  I certify that the contact information below is current and identical to that listed in my Appellate Filer
Account with PACER.
  /s/ Jonathan F. Mitchell                                                        jonathan@mitchell.law
(Signature)                                                                       (e-mail address)

 Jonathan F. Mitchell                                                             24075463
(Type or print name)                                                              (State/Bar No.)


(Title, if any)                                                                            ✔        Male                    Female

 __________________________________________________________________________________________
 Mitchell Law PLLC
(Firm or Organization)
Address                  111 Congress Avenue, Suite 400

City & State Austin,         Texas                                                                         Zip 78701

Primary Tel._ (512)          686-3940          Cell Phone:     (512) 686-3940
NOTE: When more than one attorney represents a single party or group of parties, counsel should designate a lead counsel. In
the event the court determines oral argument is necessary, lead counsel only will receive via e-mail a copy of the court's docket
and acknowledgment form. Other counsel must monitor the court's website for the posting of oral argument calendars.
Name of Lead Counsel: Jonathan
                          ________________________________________________________________________________
                                     F. Mitchell
A. Name of any Circuit Judge of the Fifth Circuit who participated in this case in the district or bankruptcy court.
 None
B. Inquiry of Counsel. To your knowledge:
           (1) Is there any case now pending in this court, which involves the same, substantially the same, similar or related isssue(s)?
                                        Yes                           No
                                                                 ✔
           (2) Is there any such case now pending in a District Court (i) within this Circuit, or (ii) in a Federal Administrative Agency which
           would likely be appealed to the Fifth Circuit?
                                         Yes                          No
                                                                  ✔
           (3) Is there any case such as (1) or (2) in which judgment or order has been entered and the case is on its way to this Court by appeal,
           petition to enforce, review, deny?
                                          Yes                          No
                                                                  ✔
         (4) Does this case qualify for calendaring priority under 5th Cir. R. 47.7? If so, cite the type of case No.
If answer to (1), or (2), or (3), is yes, please give detailed information. Number and Style of Related Case:




Name of Court or Agency

Status of Appeal (if any)_
Other Status (if not appealed)
NOTE: Attach sheet to give further details.                                                                         DKT-5A REVISED February 2017
